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                      UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF INDIANA
                            FORT WAYNE DIVISION
                                    :
In re:                              :
                                    :
    Randal Lee Moellering           :  Case No.: 18-11963
                                    :  Chapter 7
       Debtor.                      :  Chief Judge Robert E. Grant
                                    :  *********************
                                    :


   MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT OF
  PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES SURRENDER OF
  PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-DAY WAIVER
                        (FIRST MORTGAGE)

The creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, hereby moves the Court, pursuant to

11 U.S.C. § 362(d) and § 554, to lift the automatic stay and abandon from the estate the

following real property:

            4523 McComb Road, Huntertown, IN 46748, (hereinafter the "Property").

In support of the motion, the Creditor states the following:

       1.      Randal Lee Moellering (hereinafter ''Debtor'') filed a Chapter 7 case on October

11, 2018, (hereinafter the "Petition Date").

       2.      As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

       3.      The above described Mortgage was given to secure a promissory note,

(hereinafter the "Note"), dated August 25, 2006 and made payable to the Creditor in the original

sum of $85,500.00. A copy of the Note is attached hereto as Exhibit "B".




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        4.       The Creditor perfected an interest in the Property, more particularly described in

the Mortgage, recorded in Allen County Recordings Office on December 5, 2006. Evidence of

perfection is attached as Exhibit "A".

        5.       The loan was modified as set forth in the Loan Modification Agreements attached

as Exhibit ''C'' and Exhibit ''D''.

        6.       Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary.

        7.       As of October 15, 2018, the outstanding principal of the Note was $57,262.58 and

the outstanding interest was $1,614.89. As of October 15, 2018, the approximate payoff of the

loan in question, consisting of the outstanding principal, interest, escrow advances, fees and costs

is $61,690.37.

        8.       The Property is burdensome and/or of inconsequential value and benefit to the

estate. Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for

these reasons:

        a.       Debtor has no equity in the Property. Creditor believes that the Property has a
                 value of $57,800.00 based on Auditor Records, which is attached hereto as
                 Exhibit "E". The balance on Creditor's first mortgage exceeds the value of the
                 Property. Based upon the lack of equity in the Property, Creditor asserts that the
                 Property is burdensome and/or of inconsequential value and benefit to the estate.

        b.       The Creditor is not being adequately protected. Per the Note and Mortgage,
                 payments are applied to the last month due. Based on the foregoing, as of
                 October 15, 2018, Debtor has failed to make periodic payments to Creditor since
                 March 1, 2018 through October 2018.

        c.       Debtor intends to surrender the Property located at 4523 McComb Road,
                 Huntertown, IN 46748 according to the Statement of Intent filed.



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       9.      The Creditor hereby waives the right under 11 U.S.C. § 362(e) to a hearing on this

motion within thirty (30) days of the date it is filed. Creditor, by counsel, further prays that the

fourteen (14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) be waived.

PLEASE TAKE NOTICE THAT any objection must be filed with the Bankruptcy Clerk

within fourteen (14) days of the date of this notice. Those not required or not permitted to file

electronically must deliver any objection by U.S. mail, courier, overnight/express mail or in

person at:

                                   Fort Wayne
                                   1300 South Harrison Street
                                   Room 1188
                                   Fort Wayne, IN 46802-3435

The objecting party must ensure delivery of the objection to the party filing the motion. If an

objection is NOT timely filed, the requested relief and abandonment may be granted.

       WHEREFORE, the Creditor moves the Court to enter an order lifting the automatic stay

and abandoning the Property, and granting such other relief as appropriate.

                                                        Respectfully submitted,

                                                          /s/ Sarah E. Barngrover
                                                        Sarah E. Barngrover (28840-64)
                                                        Edward H. Cahill (0088985)
                                                        Adam B. Hall (0088234)
                                                        John R. Cummins (11532-10)
                                                        Amy E. Gardner (93532)
                                                        Manley Deas Kochalski LLC
                                                        P.O. Box 165028
                                                        Columbus, OH 43216-5028
                                                        614-220-5611; Fax: 614-627-8181
                                                        Attorney for Creditor
                                                        The case attorney for this file is Sarah E.
                                                        Barngrover.
                                                        Contact email is
                                                        sebarngrover@manleydeas.com




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on the parties listed below via e-mail notification:

   Nancy Gargula, 100 East Wayne Street, 5th Floor, South Bend, IN 46601-2349, 574-236-
   8105

   Martin E. Seifert, 444 East Main Street, Fort Wayne, IN 46802

   Scott W. Federspiel, Attorney for Randal Lee Moellering, 119 East Center Street, Suite B6,
   Warsaw, IN 46580, gloyeskilawfw@hotmail.com

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from

Automatic Stay and Abandonment of Property Because Statement of Intent Proposes Surrender

of Property and Notice of Objection Deadline with 30-Day Waiver (First Mortgage) was served

on all parties listed on the attached creditor matrix via regular U.S. Mail, postage prepaid on

          19 2018.
November ___,


                                                                 /s/ Sarah E. Barngrover




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Label Matrix for local noticing   Case 18-11963-reg
                                              Allen CountyDoc  11 Filed 11/19/18
                                                           Treasurer                               PageSarah
                                                                                                         5 ofE.5Barngrover
0755-1                                               1 East Main Street Suite 104                         Manley Deas Kochalski LLC
Case 18-11963-reg                                    Fort Wayne IN 46802-1888                             P.O. Box 165028
Northern District of Indiana                                                                              Columbus, OH 43216-5028
Fort Wayne Division
Mon Nov 19 08:02:43 EST 2018
CAPITAL ONE                                          COMMUNITY WIDE FEDERAL CREDIT UNION                  CREDIT ONE BANK
3905 Dallas Pkwy                                     1555 WESTERN AVE                                     PO BOX 98873
Credit Disputes                                      South Bend, IN 46619-3742                            Las Vegas, NV 89193-8873
Plano, TX 75093-7892


Scott W. Federspiel                                  Nancy J. Gargula                                     (p)INDIANA DEPARTMENT OF REVENUE
Gloyeski Law Office                                  100 East Wayne Street, 5th Floor                     ATTN BANKRUPTCY
119 East Center Street                               South Bend, IN 46601-2349                            100 N SENATE AVE
Suite B6                                                                                                  INDIANAPOLIS IN 46204-2253
Warsaw, IN 46580-2849

Indiana Employment Security Division                 LUTHERAN HEALTH NETWORK                              LUTHERAN HOSPITAL
10 North Senate Street                               2123 LINCOLNWAY COURT                                7950 West Jefferson Boulevard
Indianapolis, IN 46204-2201                          Fort Wayne, IN 46819-2140                            Fort Wayne, IN 46804-4160



LVNV FUNDING LLC                                     Randal Lee Moellering                                NATIONSTAR MORTGAGE LLC
PO BOX 10584                                         4523 McComb Road                                     C/O SARAH WILLIMS
Greenville, SC 29603-0584                            Huntertown, IN 46748-9755                            PO BOX 441039
                                                                                                          Indianapolis, IN 46244-1039


ONE MAIN                                             Martin E. Seifert
PO BOX 1010                                          444 East Main Street
Evansville, IN 47706-1010                            Fort Wayne, IN 46802-1911




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Indiana Department of Revenue
Bankruptcy Section - MS 108
100 North Senate Avenue, N240
Indianapolis IN 46204




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Nationstar Mortgage LLC d/b/a Mr. Cooper          End of Label Matrix
                                                     Mailable recipients    16
                                                     Bypassed recipients     1
                                                     Total                  17
